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                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF LOUISIANA

  RENATA SINGLETON,
  LAZONIA BAHAM,
  MARC MITCHELL,
  JANE DOE,
  FAYONA BAILEY,
  TIFFANY LACROIX, and
  SILENCE IS VIOLENCE,

             Plaintiffs,
                                                   CIVIL ACTION NO. 2:17-CV-10721
                 v.
                                                   JUDGE: JANE TRICHE MILAZZO
  LEON CANNIZZARO, in his official
  capacity as District Attorney of Orleans         MAGISTRATE: JANIS VAN MEERVELD
  Parish and in his individual capacity;

  DAVID PIPES,
  IAIN DOVER,
  JASON NAPOLI,
  ARTHUR MITCHELL,
  TIFFANY TUCKER,
  MICHAEL TRUMMEL,
  MATTHEW HAMILTON,
  INGA PETROVICH,
  LAURA RODRIGUE, and
  JOHN DOE,
  in their individual capacities;

             Defendants.
 DECLARATION OF RYAN DOWNER IN SUPPORT OF MOTION FOR ADMISSION
                         PRO HAC VICE

I, Ryan Downer, declare:

        1.        I am an attorney with Civil Rights Corps in Washington, D.C., and one of

Plaintiffs’ counsel in this action.

        2.        I am not a member of the Louisiana bar. I am not eligible for admission to the bar

of the Eastern District of Louisiana under Local Rule 83.2.1.



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          3.   I am a member in good standing of the District of Columbia and New York bars. I

am permitted to practice before the U.S. District Court for the District of Columbia, the U.S.

District Court for the Southern District of New York, the U.S. District Court for the Eastern

District of New York, and the U.S. District Court for the Central District of Illinois. A certificate

of my good standing with the District of Columbia Bar is filed herewith.

          4.     There have been no disciplinary proceedings or criminal charges instituted against

me.

          5.     I consent to electronic service of all documents through the Court’s Electronic

Filing System. I will register and obtain credentials for the Court’s ECF system.

          6.      Bruce Hamilton of the ACLU Foundation of Louisiana will serve as local

counsel in this action.

          7.     I have reviewed and am familiar with the Court’s Local Rules.

          I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.

          I DO SOLEMNLY SWEAR that I will conduct myself as an attorney and counselor of

this Court, uprightly and according to law; and that I will support the Constitution of the United

States.

          Dated: March 11, 2019

                                                                                    /s/ Ryan Downer
                                                                                        Ryan Downer
                                                                                            Attorney
                                                                                   Civil Rights Corps




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